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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

               Plaintiff,

       vs.                                            No. 21-CV-00108 KWR/KK

UNITED STATES OF AMERICA,

               Defendant.


                        JOINT MOTION FOR EXTENSION OF TIME
                            TO FILE CLOSING DOCUMENTS

       Plaintiff Joseph Grimando and Defendant United States of America, through their

respective counsel, hereby seek a 30-day extension of time for the parties to file the closing

documents in this matter or until August 5, 2022. The Court originally ordered the parties to submit

closing documents by no later than July, 2022. (Doc. 29.) There was a delay in receiving the signed

settlement agreement, which resulted in a delay of submitting the claim for payment to the

Judgement Fund. The parties respectfully request an extension of time for the parties to submit the

closing documents as a result of the delay.

       Respectfully Submitted,


       Duhigg, Cronin, Spring & Berlin, P.A.                  ALEXANDER M.M. UBALLEZ
                                                              United States Attorney
       Approved on 7/6/2022
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